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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:

 LANCE KEVIN ANDERSON,
 KADEEN EMMANUEL BERWICK,
 TRAY MICHAEL CARTER, MARONNE
 VILSAINT, MANESSE VILSAINT,
 RUBENSON ODEAN,

               Plaintiffs,
 v.

 CYPRESS COMMUNICATIONS OF S.
 FLORIDA, INC., CYPRESS
 COMMUNICATIONS, INC., DEAN R. PEZZA,

             Defendants.
 _______________________________________/

                                          COMPLAINT
                                      {Jury Trial Demanded}

        Plaintiffs, LANCE KEVIN ANDERSON, KADEEN EMMANUEL BERWICK, TRAY

 MICHAEL CARTER, MARONNE VILSAINT, MANESSE VILSAINT and RUBENSON

 ODEAN, bring this action against Defendants, CYPRESS COMMUNICATIONS OF S.

 FLORIDA, INC., CYPRESS COMMUNICATIONS, INC., and DEAN R. PEZZA, pursuant to

 the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and allege as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiffs LANCE KEVIN ANDERSON, KADEEN

 EMMANUEL BERWICK, TRAY MICHAEL CARTER, MARONNE VILSAINT, MANESSE

 VILSAINT, and RUBENSON ODEAN were residents of the State of Florida and “employees” of

 Defendants as defined by the FLSA.

 3.     Defendants regularly engaged in busines in Broward County, Florida.
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 4.     At all times material hereto, Defendant, CYPRESS COMMUNICATIONS OF S.

 FLORIDA, INC., was a Florida corporation with its principal place of business in South Florida,

 engaged in commerce in the field of telecommunications repair and installation, at all times

 material hereto was the “employer” of Plaintiffs as that term is defined under statutes referenced

 herein, engaged along with its employees in interstate commerce, and has annual gross sales and/or

 business volume of $500,000 or more.

 5.     At all times material hereto, Defendant, CYPRESS COMMUNICATIONS, INC., was a

 Florida corporation with its principal place of business in South Florida, engaged in commerce in

 the field of telecommunications repair and installation, at all times material hereto was the

 “employer” of Plaintiffs as that term is defined under statutes referenced herein, engaged along

 with its employees in interstate commerce, and has annual gross sales and/or business volume of

 $500,000 or more.

 6.     At all times material hereto, Defendants, CYPRESS COMMUNICATIONS, INC. and

 CYPRESS COMMUNICATIONS OF S. FLORIDA, INC., were a single enterprise under the Fair

 Labor Standards Act, performed related activities through unified operation and common control

 for a common business purpose, engaged along with their employees in interstate commerce, and

 have an annual gross sales and/or business volume of $500,000 or more.

 7.     At all times material hereto, Defendants, CYPRESS COMMUNICATIONS, INC. and

 CYPRESS COMMUNICATIONS OF S. FLORIDA, INC., were joint employers of Plaintiffs

 under the Fair Labor Standards Act, shared Plaintiffs’ services, had Plaintiffs acting in the interest

 of each business, and shared common control of Plaintiffs.

 8.     At all times material hereto, Defendant, DEAN R. PEZZA, is a resident of Palm Beach

 County, Florida and a manager of Defendants, CYPRESS COMMUNICATIONS, INC. and
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 CYPRESS COMMUNICATIONS OF S. FLORIDA, INC., controlled Plaintiffs’ duties, hours

 worked, and compensation, and managed the day-to-day operations of CYPRESS

 COMMUNICATIONS, INC. and CYPRESS COMMUNICATIONS OF S. FLORIDA, INC.

 Accordingly, DEAN R. PEZZA was and is an “employer” of the Plaintiffs within the meaning of

 29 U.S.C. §203(d).

 9.     Two or more of Defendants’ employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 10.    Plaintiff LANCE KEVIN ANDERSON worked for Defendants as a technician.

 11.    Plaintiff KADEEN EMMANUEL BERWICK worked for Defendants as a technician.

 12.    Plaintiff TRAY MICHAEL CARTER worked for Defendants as a technician.

 13.    Plaintiff MARONNE VILSAINT worked for Defendants as a technician.

 14.    Plaintiff MANESSE VILSAINT worked for Defendants as a technician.

 15.    Plaintiff RUBENSON ODEAN worked for Defendants as a technician.

 16.    Defendants failed to pay Plaintiffs’ full and proper overtime wages of 1.5 times Plaintiffs’

 regular hourly rates for hours worked over 40 each week.

 17.    Defendants failed to pay Plaintiffs MARONNE VILSAINT, and MANESSE VILSAINT

 their full and proper minimum wages.

 18.    Attached as Exhibit A, Exhibit B, Exhibit C, Exhibit D, Exhibit E and Exhibit F are

 preliminary calculations of Plaintiffs’ claims. These amounts may change as Plaintiffs engage in

 the discovery process.

 19.    Defendants have knowingly and willfully refused to pay Plaintiffs’ legally-entitled wages.
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 20.     Plaintiffs have complied with all conditions precedent to bringing this suit, or same have

 been waived or abandoned.

 21.     Plaintiffs have retained the services of the undersigned and are obligated to pay for the

 legal services provided.

                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 22.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-21 above as if

 set forth herein in full.

 23.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) unpaid minimum wages;1 (ii) time-and-a-half overtime pay, and (iii)

 liquidated damages pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 24.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                                Respectfully submitted,

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     As to Plaintiffs MARONNE VILSAINT and MANESSE VILSAINT.
